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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE


UNITED STATES OF AMERICA,                  )
                                           )
              Plaintiff,                   )
                                           )
       v.                                  )      Crim. No. 18-75-JDW-4
                                           )
DION OLIVER,                               )
                                           )
              Defendant.                   )

                                     MEMORANDUM

       Juries are the bedrock of our justice system. We leave vital questions, including

decisions about citizens’ life and liberty, to their peer rather than to judges. To be sure, a

judge explains the law to the members of the jury (who probably do not have any legal

training) and tells the jurors to follow those instructions. But after a jury gets those

instructions, its deliberations are its own. The secrecy of those deliberations ensures that

jurors can express their views openly. To preserve the secrecy of those deliberations, we

accept some risk that jurors might get confused about the evidence or the instructions,

or even choose to disregard them entirely and engage in jury nullification.

       At the end of Dion Oliver’s trial, the jurors received instructions to which the Parties

agreed, including the Third Circuit’s pattern instruction on vicarious liability. Those

instructions were, at times, challenging for someone without legal training. So it’s no

surprise that they sent a note expressing some confusion about the vicarious liability
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instruction. But they worked through their confusion and reached a verdict. Mr. Oliver

thinks that the jury’s confusion, and the jury charge itself, warrant a new trial. I disagree,

though. The jury did exactly what it was supposed to do, and the snapshot of a moment

of jury confusion does not mean the jury did something wrong or unfair. I will therefore

deny his motion for a new trial.

I.     BACKGROUND

       Mr. Oliver was charged with five counts: (1) conspiracy to stalk; (2) stalking; (3)

conspiracy to kidnap; (4) kidnapping; and (5) the use and carrying of a firearm in relation

to a crime of violence. Over the course of a five-day trial, the Government presented the

testimony of one of Mr. Oliver’s co-conspirators, other witness testimony regarding Mr.

Oliver’s location during the events at issue, security camera footage, weapons and shell

casings used in commission of the crimes, cellphone tower location data for Mr. Oliver

and his co-conspirators, DNA evidence that linked Mr. Oliver to one of the crime scenes,

and expert testimony.

       Before charging the jury, I held a charging conference during which both Parties

agreed to the language of the jury instructions. The final jury charge included a joint

instruction for the two conspiracies, which distinguished the conspiracy to stalk and

conspiracy to kidnap counts and included separate lists of facts that could satisfy the

“overt acts” element of conspiracy for those separate counts. (D.I. 422-1 at 62, 70.) The

Parties agreed to the conspiracy instruction and lists of overt acts on the record.



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        The Parties also agreed to an instruction on vicarious liability, which was based on

the Third Circuit’s model jury instruction for Pinkerton liability. See 3d Cir. Model Crim.

Jury Instructions § 7.03 “Responsibility For Substantive Offenses Committed By Co-

Conspirators (Pinkerton liability).” That instruction explained that one way to find Mr.

Oliver guilty of stalking, kidnapping, or the use and carrying of a firearm, was “based on

the legal rule that each member of a conspiracy is responsible for crimes and other acts

committed by the other members, as long as those crimes and acts were committed to

help further or achieve the objective of the conspiracy and were reasonably foreseeable

to the defendant as a necessary or natural consequence of the agreement.” (D.I. 422-1 at

82.) As the first element for vicarious liability, I instructed the jury that it must find that

“Mr. Oliver was a member of the conspiracy charged in the Second Superseding

Indictment.” (Id.) The instruction also repeatedly referenced each conspiracy offense

separately.

        During its deliberations, the Jury sent me a note, which stated:

                -      We are at a deadlock in our decision
                -      We have all discussed Count (5)
                       o       1st – Yes
                       o       2nd – No
                       o       3rd – No
                -      We are now stuck because on Page 77 where if
             convicted of any charge they are guilty of all charges. We are not
             okay that he is automatically guilty of all charges.

(D.I. 17.)




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       I assembled the Parties to discuss how to respond to the jury’s note. However,

before the Parties arrived, the Jury notified me that it reached a verdict. After reading the

note into the record, I brought the jurors into the courtroom and confirmed with them

that they had continued to work through their deadlock after sending the note, that they

had resolved any questions that they had regarding Count Five, and that they had reached

a unanimous verdict on all Counts. The jury returned a verdict of guilty on Counts One,

Two, Three, and Four, and a verdict of not guilty on Count Five. Additionally, the Jury

answered “no” to two special interrogatories that asked whether it found that Mr. Oliver

used or discharged a firearm, and “yes” to an interrogatory that asked if it found that the

kidnapping caused the victim’s death.

       The jury’s verdict was entered on November 16, 2022. Mr. Oliver filed a Motion For

A New Trial Pursuant to Fed. R. Crim. P. 33 on November 20, 2022. On December 6, 2022,

I ordered the Government to respond to the Motion, and the Government filed a

Response on January 6, 2023.

II.    LEGAL STANDARD

       “Upon the defendant’s motion, the court may vacate any judgment and grant a

new trial if the interest of justice so requires.” Fed. R. Crim. P. 33(a). Rule 33 motions are

disfavored, and are only granted if the Court “believes that there is a serious danger that

a miscarriage of justice has occurred—that is, that an innocent person has been

convicted.” United States v. Salahuddin, 765 F.3d 329, 346 (3d Cir. 2014) (quoting United



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States v. Johnson, 302 F.3d 139, 150 (3d Cir. 2002)). To evaluate a Rule 33 motion, a district

court exercises its own judgment to assess the Government’s case. Id. (citations omitted).

       Courts grant Rule 33 motions grounded on unpreserved trial errors for plain error.

United States v. Tiller, 302 F.3d 98, 105 (3d Cir, 2002) (“failure to object at trial, absent

plain error, constitutes a waiver of the issue for post-trial purposes”). Plain error exists

when: (1) there was an error; (2) that error was “plain”; (3) it prejudiced or affected

substantial rights; and (4) failure to correct it would “seriously affect the fairness, integrity

or public reputation of judicial proceedings.” United States v. Greenspan, 923 F.3d 138,

147 (3d Cir. 2019) (quoting United States v. Olano, 507 U.S. 725, 732, 734-46 (1993)). A

court’s review of a jury instruction for plain error considers the instructions as a whole. Id.

III.   DISCUSSION

       A.     The Jury Instruction Was Not Plain Error

       It is unlikely that a district court commits plain error when its jury instruction is

based on the Third Circuit’s Model Instructions. See United States v. Petersen, 622 F.3d

196, 208 (3d Cir. 2010) (“We have a hard time concluding that the use of our own model

jury instruction can constitute error”). The Third Circuit has held that using the Model

Instruction for co-conspirator liability can’t constitute plain error. United States v.

Gonzalez, 905 F.3d 165, 190 (3d Cir. 2018). Therefore, Mr. Oliver’s Motion fails absent

some substantive change to the language of the instruction.




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       Mr. Oliver points to language taken verbatim from the model instruction that he

claims constitutes plain error. As the first of four elements required to find the Defendant

guilty of an offense by vicarious liability, the Court instructed the jury that it must find

“[t]hat Mr. Oliver was a member of the conspiracy charged in the Second Superseding

Indictment.” (D.I. 422-1 at 83 (emphasis added).) Mr. Oliver argues that because this

specific language failed to instruct the jury that they must consider each conspiracy

separately, the Court committed plain error. Mr. Oliver claims the error confused the jury,

which led to his conviction on Counts One through Four.

       The instruction was not error, let alone plain error. The jurors were aware that there

were two separate conspiracies charged in the Second Superseding Indictment. The

instruction was clear that to convict Mr. Oliver of a co-conspirator’s criminal act, he must

be guilty of entering into the conspiracy pursuant to which that crime was committed. If

the jury did not find that Mr. Oliver entered the conspiracy that pertained to “each relevant

offence,” the Court instructed it not to convict him of those offenses based on vicarious

liability. (See D.I. 422-1 at 83.)

       Even if the Court accepts the argument that the term “the conspiracy” might, in

isolation, indicate to the jury that it should consider only one conspiracy, the instructions

clarified that the jury should consider the two conspiracy counts independently. See

Greenspan, 923 F.3d at 147 (“When reviewing jury instructions, we look to the instructions

as a whole, not piecemeal.”). The conspiracy instruction lists the two counts separately



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and explains that, for each element, the jury must find that the Government proved,

beyond a reasonable doubt, the elements specific to the relevant conspiracy. For example,

as the first element necessary to find Mr. Oliver guilty of conspiracy, the Court instructed

the jury it must find that “two or more persons agreed to commit the offense charged.

For Count One, that is an agreement to commit the offense of stalking. For Count Three,

that is an agreement to commit the offense of kidnapping.” (D.I. 422-1 at 54.) Additionally,

the instruction provides separate lists of facts that might satisfy the “overt act” element

for each conspiracy. (D.I. 422-1 at 61-73.) Throughout the instruction, the Court reminded

the Jurors that each conspiracy required independent proof.

       The instruction on co-conspirator liability also highlights the distinction between

the two conspiracies. For example, the instruction notes that “in order to prove that Mr.

Oliver was a member of a conspiracy, the Government must prove that he knew of the

objectives of each offense, namely stalking, kidnapping, or use and carrying of a firearm

during and in relation to a crime of violence, and intended to join together with at least

one other alleged conspirator to achieve these objective(s).” (D.I 422-1 at 84.) The

instruction also repeatedly references “each offense,” “each relevant offense,” the

individual names for each offense, and the separate count numbers for each offense.

Because I based the instruction on the Third Circuit’s Model Instruction on co-conspirator

liability, and because the instructions were clear that co-conspirator liability must be




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based on Mr. Oliver’s participation in the relevant conspiracy for which the crime was

committed, the vicarious liability instruction did not constitute plain error.

       Both Mr. Oliver and the Government make arguments about whether there was

sufficient evidence to convict Mr. Oliver on Counts One through Four. Because I conclude

that the jury instruction was not plain error, I don’t have to reach the question of whether

there was sufficient evidence to support the verdicts, i.e., whether the instruction

“prejudiced or affected substantial rights,” or whether a failure to correct it would

“seriously affect the fairness, integrity or public reputation of judicial proceedings.”

Greenspan, 923 F.3d at 147 (listing the steps of plain error review). A sufficiency of the

evidence analysis would fall under steps three or four of the test for plain error, so the

lack of plain error obviates any need for it.

       In any event, the evidence was sufficient to sustain a conviction on Counts One

through Four. The Government presented significant evidence that placed Mr. Oliver with

co-conspirators during the commission of each of the crimes. That evidence included eye-

witness testimony that placed Mr. Oliver with a co-conspirator during the relevant time

period, cell phone location data that placed Mr. Oliver and his co-conspirators near the

scenes of the crimes and in transit between relevant locations, security camera footage of

co-conspirator vehicles in transit between crime scenes, weapons and shell casings linked

to the crimes, DNA evidence that placed Mr. Oliver in the kidnapping victim’s car, and

expert testimony regarding the accuracy of the location data and DNA evidence. With or



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without the inclusion of the Government’s cooperating witness, my view is that the

evidence was sufficient, and that the Government met its burden, to prove Mr. Oliver’s

guilt on Counts One through Four. See Salahuddin, 765 F.3d at 346 (noting that for Rule

33 motions district courts exercise their own judgment to assess the Government’s case).

       B.     Jury Confusion

       A court “cannot speculate as to the content of the jury’s deliberations.” See United

States v. Russell, 134 .3d 171, 177 (3d Cir. 1998). The Court assumes the jury understood

and followed the instructions it was given. See O’Brien v. Middle East Forum, 57 F.4th 110,

122 (2023). Absent proof of improper extraneous influence, the Court will not guess or

inquire as to the jury’s thought process. See Van Buskirk v. Carey Canadian Mines, Ltd.,

760 F.2d 481, 488 (3d Cir. 1984). This is true even if the Court suspects that the jury might

have been confused at various points in its deliberations.

       These principles mean that I cannot set aside the jury’s verdict based on the note

that it sent. The general rule respecting jury verdicts is enough for me to reach that

outcome, but it’s also important to note that I have no way of knowing how the jury broke

its deadlock or reached its verdict. Mr. Oliver infers from the note that the jury’s verdict

was a product of its confusion. But Mr. Oliver’s interpretation of the jury’s is not necessarily

correct. Maybe the jury’s reference in the note to “One,” “Two,” and “Three” refers to

Counts in the case, But it could just as easily refer to the three elements of Count Five. In

any event, the note is just a snapshot of the jury’s thinking at the moment that it sent the



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 note. It continued deliberating, and the thinking when it reached its verdict was not

 necessarily the same. It’s true that the note and the verdict came close in time, but that

 temporal proximity is not enough for me to conclude the jury was confused.

        Ultimately, it doesn’t matter if the jury was confused when it reached its verdict. It’s

 hard to explain complicated legal concepts, like vicarious liability, to jurors (and to many

 lawyers). But judges do their best, and then it’s up to the jury to follow that law. Because

 the law doesn’t allow probing or monitoring of jury deliberations, there’s always a risk of

 a decision that’s a product of juror confusion. That risk is baked into the system. As long

 as it’s not at odds with the evidence, that’s allowed.

        Finally, it’s worth noting that prior to delivering the verdict, the jury assured me

 that it had resolved any confusion about the instructions, had continued to work through

 any disagreement after sending the note, and had reached a unanimous verdict on all

 counts. Mr. Oliver asked me to poll the jury after the verdict, I did so, and each juror

 confirmed that the verdict was correct. The Court takes the jury at its word.

 IV.    CONCLUSION

        The Court’s Jury instruction on vicarious liability was not plain error, and Mr. Oliver

 is not entitled to a new trial. An appropriate Order follows.

                                            BY THE COURT:

                                            /s/ Joshua D. Wolson
                                            JOSHUA D. WOLSON, J.
 February 21, 2023


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